         Case 21-32351 Document 966 Filed in TXSB on 12/20/21 Page 1 of 4




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                          )
In re:                                                    ) Chapter 11
                                                          )
LIMETREE BAY SERVICES, LLC, et al.,1                      ) Case No. 21-32351 (DRJ)
                                                          )
                                             Debtors.     ) (Jointly Administered)
                                                          )

                 AMENDED WITNESS LIST AND EXHIBIT LIST OF
         ST. CROIX ENERGY, LLLP FOR DECEMBER 21, 2021 SALE HEARING

         St. Croix Energy, LLLP (“SCE”), by and through its undersigned counsel, hereby files its

Amended Witness and Exhibit List for the hearing to be held on December 21, 2021, at 10:00

a.m. (prevailing Central Time) (the “Hearing”) as follows.2

                                                 WITNESSES

         SCE may call the following witnesses at the Hearing:3

                i.    Mark Shapiro, Chief Restructuring Officer

               ii.    Michael O’Hara, Managing Director, Jefferies LLC

              iii.    Charles Chambers, Chief Executive Officer, West Indies Petroleum Limited

              iv.     David Roberts, West Indies Petroleum Limited

               v.     Courtney Wilkinson, West Indies Petroleum Limited

              vi.     any witness listed by any other party; and

             vii.     rebuttal witnesses as necessary.
1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776);
    Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining
    Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is
    Limetree Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.
2
    SCE reserves the right to amend this Witness and Exhibit List.
3
    SCE reserves the right to cross-examine any witness called by any other party at the Hearing.
        Case 21-32351 Document 966 Filed in TXSB on 12/20/21 Page 2 of 4




                                           EXHIBITS




                                                                          Object
                                                                                                 Disposition




                                                                                   Admit
                                                           Mark
                                                                  Offer
 No.                       Description                                                     W/D
                                                                                                 After Trial

         Any document or pleading filed in the
  1.     above-captioned main cases.
         Any exhibit necessary for impeachment or
  2.     rebuttal purposes.
         Any exhibit identified or offered by any other
  3.     party.

       SCE reserves the right to supplement or amend this Witness and Exhibit List and to

identify additional exhibits, including but not limited to rebuttal and impeachment exhibits, prior

to the conclusion of the Hearing.



                          [Remainder of Page Intentionally Left Blank]




                                                2
      Case 21-32351 Document 966 Filed in TXSB on 12/20/21 Page 3 of 4




Dated: December 20, 2021
       New York, New York

                                         Respectfully submitted,

                                         ROPES & GRAY LLP

                                         /s/ Gregg M. Galardi
                                         Gregg M. Galardi (admitted pro hac vice)
                                         Matthew M. Roose (admitted pro hac vice)
                                         1211 Avenue of the Americas
                                         New York, NY 10036-8704
                                         Tel: (212) 596-9000
                                         gregg.galardi@ropesgray.com
                                         matthew.roose@ropesgray.com

                                         Stephen L. Iacovo (admitted pro hac vice)
                                         191 North Wacker Drive, 32nd Floor
                                         Chicago, IL 60606
                                         Tel: (312) 845-1200
                                         stephen.iacovo@ropesgray.com

                                         -and-

                                         USVI LAW, LLP
                                         Scot Fitzerald McChain
                                         5030 Anchor Way Ste. 13
                                         Christiansted, VI 00820
                                         Tel: 340-773-6955
                                         smcchain@usvi.law

                                         Counsel to St. Croix Energy, LLLP




                                     3
       Case 21-32351 Document 966 Filed in TXSB on 12/20/21 Page 4 of 4




                             CERTIFICATE OF SERVICE

       I certify that on December 20, 2021, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                    /s/ Gregg M. Galardi
                                                    Gregg M. Galardi




                                            4
